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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

RUBICELLA RAMIREZ,                         §
FRANCISCO GONZALES,                        §
   Plaintiffs,                             §
                                           §
v.                                         §    CIVIL ACTION NO. 2:18-CV-00107
                                           §
JAMES KILLIAN, a.k.a. “JR Killian”         §
and KENT RILEY,                            §
      Defendants.                          §


                         PROPOSED JOINT SCHEDULING ORDER

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE LEE ANN RENO:

       Pursuant to the Court’s Order to Submit Joint Proposed Scheduling Order and Setting Rule

16 Scheduling Conference (Doc. 9), the Parties Submit the following:


                                   1.    NATURE OF THE CASE

       Because the Parties have different opinions about the nature of the case and available

defenses, they have each set forth their own versions for the Court.


                                        A. PLAINTIFFS’ CLAIMS

      This is a civil rights case in which Plaintiffs Rubicela Ramirez and Francisco Gonzales

complain that Defendants John Killian and Kent Riley entered Plaintiffs’ home without probable

cause, pepper sprayed them, shot their two dogs (killing one of the dogs), banged Plaintiff

Ramirez’ head against the floor, stabbed Plaintiff Ramirez’ ribs with keys, and denied both

Plaintiffs medical attention. Defendant James Killian violated Plaintiffs’ 4th Amendment rights

against unreasonable search and seizure by entering the house without a warrant or probable

cause, and unreasonably seizing their property, more specifically their two dogs by shooting



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them, killing one. Defendant James Killian used excessive force against both Plaintiffs by

pepper spraying them, banging Plaintiff Ramirez head against the floor, and by stabbing Plaintiff

Ramirez with his keys while she was in the police vehicle.

     Defendant Kent Riley permitted excessive force against Plaintiff Ramirez by failing to stop

Defendant James Killian’s unlawful assault upon her. Defendant James Killian violated both

Plaintiffs 14th Amendment rights by providing false information in the arrest report, in violation

of Plaintiffs’ rights to due process. Defendants violated Plaintiffs’ rights by denying them

medical attention after Defendant Killian pepper sprayed and struck the Plaintiffs under

Defendant Riley’s supervision.

                    B. DEFENDANT RILEY’S/COLLINGSWORTH COUNTY CLAIMS

      This is a civil rights case in which the Plaintiffs complain primarily about the actions of

Collingsworth County Deputy James “JR” Killian for actions taken during an arrest of the

Plaintiffs on June 20, 2016.1 The Plaintiffs contend the actions taken by Defendant Killian and

Sheriff Riley violated their constitutional rights with the excessive use of force, denial of medical

care, the failure to intervene and a conspiracy to violate civil rights. Defendant Riley contends

that the Plaintiffs have failed to state a claim for relief against Defendant Riley and/or

Collingsworth County.           Additionally, Defendant Riley/Collingsworth County contends that

there was no conspiracy to violate the constitutional rights of the Plaintiffs, and that no custom,

policy or practice was the moving force behind any alleged constitutional violation.

      Furthermore, Defendant Riley, in his individual capacity, contends the doctrine of qualified

immunity shields him from liability.


1
  The undersigned counsel for the Defendant does not represent James “JR” Killian in his individual capacity. As of
the date of the filing of this proposed joint scheduling order, Defendant Killian has not made an appearance in the
case.


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     Defendant Riley anticipates that one or both individual Defendants may assert the defense

of qualified immunity. Should a Defendant assert the defense of qualified immunity, any motion

for summary judgment relating to the issue of qualified immunity should be filed within sixty

(60) days from the date the defense is raised, with any responses thereto filed in accordance with

the Local Rules for the Northern District of Texas.

     Defendant Riley contends that once he raises the defense of qualified immunity, any

discovery not related to the issue of qualified immunity should be stayed until the issue of

qualified immunity has been decided by the Court, at which time the stay will be automatically

lifted without further order. See Backe v. LeBlanc, 691 F.3d 645 (5th Cir. 2012). The filing of a

motion for summary judgment on the issue of qualified immunity should not limit that party’s

ability to file a subsequent motion for summary judgment in accordance with this Scheduling

Order. Therefore, Defendant Riley requests the ability to file a motion for summary judgment on

the issue of qualified immunity, and later to file a motion to summary judgment as to any Monell

claims related to Collingsworth County.

                          2.      CHALLENGE TO THE JURISDICTION/VENUE

     None.

                                    3.   LIKELIHOOD OF JOINDER

     Defendant JR Killian has not appeared in this case, but it is anticipated that he will likely

make an appearance after the August 28, 2018, scheduling conference.

                                          4.   DEADLINES

        Subject to deadlines being modified by qualified immunity, the Parties request that the

Court enter a scheduling order pursuant to Federal Rule of Civil Procedure 16(b) with the

following deadlines:



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        A.      Motions to join other parties must be filed on November 2, 2018.

        B.      Parties seeking affirmative relief shall designate expert witnesses on or before
                November 14, 2018.

        C.      Parties seeking affirmative relief shall make expert disclosures required by Rule
                26(a)(2) on or before November 28, 2018.

        D.      Parties opposing affirmative relief shall designate expert witnesses on or before
                December 28, 2018.

        E.      Parties opposing affirmative relief shall make expert disclosures required by Rule
                26(a)(2) on January 11, 2019.

        F.      All parties shall designate rebuttal expert witnesses on January 25, 2019.

        G.      Objection to Expert witnesses are to be filed as follows:

                     i. Parties seeking affirmative relief shall file objections on March 1, 2019.

                    ii. Parties opposing affirmative relief shall file objections on April 5, 2019.

        H.      Motions to amend pleadings must be filed on January 18, 2019.

        I.      Discovery must be completed on May 17, 2019.

        J.      Dispositive Motions, including motions summary judgment must be filed on
                May 31, 2019. This deadline does not apply to any motion for summary
                judgment on the issue of qualified immunity, which must be filed no later than 60
                days after a party asserts the defense of qualified immunity.

        K.      All other motions except motions in limine must be filed on July 30, 2019.

        L.      All Rule 26(a)(3) disclosures must be filed on August 20, 2019 (three weeks

                before trial ready date).

              5. THE PARTIES’ VIEWS AND PROPOSALS ON EACH OF THE MATTERS
                               LISTED IN RULE 26(f)(3)(A)-(F)

        (a)     What changes should be made in the timing, form, or requirement for disclosures
                under Rule 26(a), including a statement of when initial disclosures were made or
                will be made;

        (b)     The subjects on which discovery may be needed, when discovery should be
                completed, and whether discovery should be conducted in phases or be limited to
                or focused on particular issues;



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        (c)     Any issues about disclosure, discovery, or preservation of electronically stored
                information, including the form or forms in which it should be produced;

        (d)     Any issues about claims of privilege or of protection as trial-preparation
                materials, including—if the parties agree on a procedure to assert these claims
                after production—whether to ask the court to include their agreement in an order
                under Federal Rule of Evidence 502;

        (e)     What changes should be made in the limitations on discovery imposed under these
                rules or by local rule, and what other limitations should be imposed; and

        (f)     Any other orders that the court should issue under Rule 26(c) or under Rule 16(b)
                and (c).


            6(a). CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

        At this time all parties do not consent to referring the case to the Magistrate Judge.

                            6(b). STATUS OF SETTLEMENT NEGOTIATIONS

        The Parties believe that going to mediation would be appropriate only after the issue of

qualified immunity is fully briefed and ruled on by the Court. Due to the possibility of an

interlocutory appeal related to qualified immunity, mediation would only be appropriate after the

issue is resolved. Additionally, one of the Defendants, JR Killian, has not been served and has

not made an appearance in the case. His presence is necessary for a meaningful mediation.

                              6(c). PROPOSED READY FOR TRIAL DATE

     If discovery were not stayed pending resolution of qualified immunity, then the Parties

believe that a trial ready date of September 10, 2019 would be appropriate. However, in the

opinion of Defendant Riley, case law requires the Court to stay discovery until the issue of

qualified immunity may be resolved by the Court. Therefore, the deadlines set forth above may

need to be modified once qualified immunity is addressed by the Court because discovery will

likely be stayed while that issue is briefed and resolved by the Court.




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                                     6(d). LOCAL COUNSEL

     Not applicable.

                            6(e). CERTIFICATE OF INTERESTED PERSONS

     Plaintiffs filed their Certificate of Interested Persons (Doc. 12) on August 16, 2018.

Defendant Kent Riley and Defendant Collingsworth County filed their Certificate of Interested

Persons (Doc. 8) on July 11, 2018.

                    PERMITTED CONTENTS (Not required, but can be included)

     1. Disclosures required under Rule 26(a)(1) shall be due on August, 31, 2018.

     2. In regard to other appropriate matters, Defendant Kent Riley would refer the Court to the

issue of qualified immunity in ¶ 1(B) and the effect this will likely have on deadlines/filing more

than one motion for summary judgment.


                                             Respectfully submitted,

                                             /s/ Matt D. Matzner
                                             MATT D. MATZNER
                                             Texas Bar No. 00797022
                                             TRACI D. SIEBENLIST
                                             Texas Bar No. 24070517
                                             KRISTYN U. SORENSEN
                                             Texas Bar No. 24106537
                                             CRENSHAW, DUPREE & MILAM, L.L.P.
                                             P.O. Box 64479
                                             Lubbock, Texas 79464-4479
                                             Telephone: (806) 762-5281
                                             Facsimile: (806) 762-3510
                                             mmatzner@cdmlaw.com
                                             tsiebenlist@cdmlaw.com
                                             ksorensen@cdmlaw.com
                                             Counsel for Defendant Kent Riley

                                             AND




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                                   /s/ Patrick J. McLain
                                   Law Office of Patrick J. McLain
                                   PATRICK J. McLAIN
                                   State Bar No. 13737480
                                   SUZY VANEGAS
                                   State Bar No. 24082074
                                   3316 Oak Grove Ave, Suite 200
                                   Dallas, Texas 75204
                                   Telephone: (214) 416-9100
                                   Facsimile: (972) 502-9879
                                   suzy@patrickjmclain.com
                                   Patrick@patrickjmclain.com
                                   Counsel for Plaintiffs




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